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 tI.L ‘i
                                                   U.S. Department of Justice
                                                   United States Attorney
                                                   District of New Jersey

 CRAIG CARPENIT0                                   970 Broad Street, Suite 700   Phone: 973-645-2752
 United States Attorney                           Newa,*, New Jersey 07102       Fax:   973-645-3497
 Anthony Moscato
 Assistant US. Attorney



                                                  August 22, 2018
Robert J. DeGroot, Esq.
56 Park Place
Newark, New Jersey 07102

           Re:        Plea Agreement with Melissa Reynolds


Dear Mr. DeGroot:

       This letter sets forth the plea agreement between your client, Melissa
Reynolds, and the United States Attorney for the District of New Jersey (“this
Office”). The offer contained in this plea agreement will expire on August 31,
2018, unless such offer is otherwise extended by this Office.

Charge

      Conditioned on the understandings specified below, this Office will
accept a guilty plea from Ms. Reynolds to a one-count Information that charges
her with conspiracy to commit mail fraud (including mail fraud affecting
financial institutions) and bank fraud, contrary to Title 18, United States Code,
Sections 1341 and 1344, in violation of Title 18, United States Code, Section
1349.

       If Ms. Reynolds enters a guilty plea and is sentenced on this charge and
otherwise fully complies with all of the terms of this agreement, then this Office
will not initiate any further criminal charges against Ms. Reynolds for the
criminal conduct alleged in the Information and the Criminal Complaint,
Criminal Number: 18-7038 (CLW7). In the event that a guilty plea in this matter
is not entered for any reason or the judgment of conviction entered as a result
of this guilty plea does not remain in full force and effect, Ms. Reynolds agrees
that any dismissed charges and any other charges that are not time-barred by
the applicable statute of limitations on the date this agreement is signed by Ms.
Reynolds may be commenced against her, notwithstanding the expiration of
the limitations period after Ms. Reynolds signs the agreement.
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 Sentencing

        The violation of Title 1$, United States Code, Section 1349 to which Ms.
 Reynolds agrees to plead guilty carries a statutory maximum prison senten
                                                                                ce of
 thirty years and a statutory maximum fine equal to the greatest of:
                                                                       (1) $1
 million; (2) twice the gross amount of any pecuniary gain that any person
                                                                              s
 derived from the offense; or (3) twice the gross amount of any pecuniary
                                                                             loss
 sustained by any victims of the offense. Fines imposed by the sentencing
                                                                               judge
 may be subject to the payment of interest.

       The sentence to be imposed upon Ms. Reynolds is within the sole
discretion of the sentencing judge, subject to the provisions of the Senten
                                                                             cing
Reform Act, Title 1$, United States Code, Section Sections 355 1-3742
                                                                       , and the
sentencing judge’s consideration of the United States Sentencing Guidel
                                                                           ines.
The United States Sentencing Guidelines are advisory, not mandatory.
                                                                          The
sentencing judge may impose any reasonable sentence up to and includ
                                                                          ing the
statutory maximum term of imprisonment and the maximum statutory
                                                                          fine.
This Office cannot and does not make any representation or promise
                                                                       as to what
guideline range may be found by the sentencing judge, or as to what senten
                                                                               ce
Ms. Reynolds ultimately will receive.

        further, in addition to imposing any other penalty on Ms. Reynolds, the
 sentencing judge: (1) will order Ms. Reynolds to pay an assessment of
                                                                         $100
 pursuant to Title 1$, United States Code, Section 3013, which assessm
                                                                           ent
 must be paid by the date of sentencing; (2) must order Ms. Reynolds
                                                                       to pay
restitution pursuant to Title 18, United States Code, Sections 3663
                                                                      and 3663A
 et seq.; (3) must order forfeiture; (4) may order Ms. Reynolds, pursuant
                                                                            to Title
 18, United States Code, Section 3555, to give notice to any victims of her
offense; and (5) pursuant to Title 18, United States Code, Section 3583, may
require Ms. Reynolds to serve a term of supervised release of at least five
                                                                              years,
which will begin at the expiration of any term of imprisonment impose
                                                                         d.
Should Ms. Reynolds be placed on a term of supervised release and
subsequently violate any of the conditions of supervised release before
                                                                          the
expiration of its term, Ms. Reynolds may be sentenced to not more than
                                                                             three
years’ imprisonment in addition to any prison term previously impose
                                                                        d,
regardless of the statutory maximum term of imprisonment set forth above
                                                                                and
without credit for time previously served on post-release supervision,
                                                                        and may
be sentenced to an additional term of supervised release.




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 Rights of This Office Regarding Sentencing

         Except as otherwise provided in this agreement, this Office reserves its
 right to take any position with respect to the appropriate sentence to be
 imposed on Ms. Reynolds by the sentencing judge, to correct any
 misstatements relating to the sentencing proceedings, and to provide the
 sentencing judge and the United States Probation Office all law and
 information relevant to sentencing, favorable or otherwise. In addition, this
 Office may inform the sentencing judge and the United States Probation Office
 of: (1) this agreement; and (2] the full nature and extent of Ms. Reynolds’
 activities and relevant conduct with respect to this case.

 Stipulations

        This Office and Ms. Reynolds agree to stipulate at sentencing to the
 statements set forth in the attached Schedule A, which hereby is made a part
 of this plea agreement. This agreement to stipulate, however, cannot and does
 not bind the sentencing judge, who may make independent factual findings
 and may reject any or all of the stipulations entered into by the parties. To the
 extent that the parties do not stipulate to a particular fact or legal conclusion,
 each reserves the right to argue the existence of and the effect of any such fact
 or conclusion upon the sentence. Moreover, this agreement to stipulate on the
part of this Office is based on the information and evidence that this Office
possesses as of the date of this agreement. Thus, if this Office obtains or
receives additional evidence or information prior to sentencing that it
determines to be credible and to be materially in conflict with any stipulation in
the attached Schedule A, this Office shall not be bound by any such
stipulation. A determination that any stipulation is not binding shall not
release either this Office or Ms. Reynolds from any other portion of this
agreement, including any other stipulation. If the sentencing court rejects a
stipulation, both parties reserve the right to argue on appeal or at post-
sentencing proceedings that the sentencing court was within its discretion and
authority to do so. These stipulations do not restrict the Government’s right to
respond to questions from the Court and to correct misinformation that has
been provided to the Court.

forfeiture

       As part of her acceptance of responsibility and under Title 18, United
States Code, Section 982(a)(2), Ms. Reynolds agrees to forfeit to the United
States all of her right, title, and interest in any property, real or personal,
which constitutes or is derived from proceeds she obtained that are traceable to
the offenses in violation of Title 18, United States Code, Sections 1341, 1344,
and 1349, charged in the Information. Ms. Reynolds further agrees that the
value of such property was $548,242; that one or more of the conditions set
forth in Title 21, United States Code, Section 853(p) exists; and that the United
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  States is therefore entitled to forfeit substitute assets equal to the value of the
 proceeds obtained by Ms. Reynolds, in an amount not to exceed $548,242 (the
 “forfeiture Amount”). Ms. Reynolds consents to the entry of an order requiring
 her to pay the Forfeiture Amount, in the manner described below (the “Order”),
 and that the Order will be final as to Mr. Reynolds before sentencing, pursuant
 to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, and which may
 be satisfied in whole or in part with substitute assets. Ms. Reynolds further
 agrees that upon entry of the Order, the United States Attorney’s Office is
 authorized to conduct any discovery needed to identify, locate, or dispose of
 property sufficient to pay the forfeiture Amount in full or in connection with
 any petitions filed with regard to proceeds or substitute assets, including
 depositions, interrogatories, and requests for production of documents, and the
 issuance of subpoenas.

       AU payments made in full or partial satisfaction of the forfeiture Amount
shall be made by postal money order, bank, or certified check, made payable in
this instance to the United States Marshals Service, indicating Ms. Reynold’s
name and case number on the face of the check; and shall be delivered by mail
to the United States Attorney’s Office, District of New Jersey, Attn: Asset
forfeiture and Money Laundering Unit, 970 Broad Street, 7th Floor, Newark,
New Jersey 07102.

       Ms. Reynolds waives the requirements of Rules 32.2 and 43(a) of the
federal Rules of Criminal Procedure regarding notice of the forfeiture in the
charging instrument, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. Ms. Reynolds understands that
criminal forfeiture is part of the sentence that may be imposed in this case and
waives any failure by the court to advise her of this pursuant to Rule 1 1(b)(1)(J)
of the federal Rules of Criminal Procedure at the guilty plea proceeding. Ms.
Reynolds waives any and all constitutional, statutory, and other challenges to
the forfeiture on any and all grounds, including that the forfeiture constitutes
an excessive fine or punishment under the Eighth Amendment. It is further
understood that any forfeiture of her assets shall not be treated as satisfaction
of any fine, restitution, cost of imprisonment, or any other penalty the Court
may impose upon her in addition to forfeiture.

       Ms. Reynolds further agrees that not later than the date she enters her
plea of guilty she will provide a complete and accurate financial Disclosure
Statement on the form provided by this Office. If Ms. Reynolds fails to provide
a complete and accurate financial Disclosure Statement by the date she enters
her plea of guilty or if this Office determines that Ms. Reynolds has
intentionally failed to disclose assets on her financial Disclosure Statement,
Ms. Reynolds agrees that that failure constitutes a material breach of this
agreement, and this Office reserves the right, regardless of any agreement or
stipulation that might otherwise apply, to oppose any downward adjustment

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 for acceptance of responsibility pursuant to U.S.S.G. 3E1. 1, and to seek leave
                                                      §
 of the Court to withdraw from this agreement or seek other relief.

 Restitution

       Under Title 18, United States Code, Sections 3663 and 3663A, Ms.
 Reynolds agrees to make full restitution for all losses resulting from the offense
 of conviction or from the scheme, conspiracy, or pattern of criminal activity
 underlying the offense, to the following victims in the following amounts:

  Entity                                     Amount
  Resurgent Capital Services                 $417,276
  Porsche financial Services                 $93,235.29
  New York Municipal Credit Union            $37,730.72

       If the prerequisites for remission, mitigation, or restoration are met, see
28 C.F.R. § 9 et seq., then this Office may recommend to the Money
Laundering and Asset Recovery Section of the Department of Justice that all
                                                                                 or
a portion of the forfeited property be applied to satisfy court-ordered
restitution.

Waiver of Appeal and Post-Sentencing Rights

      As set forth in Schedule A, this Office and Ms. Reynolds waive certain
rights to file an appeal, collateral attack, writ, or motion after sentencing,
including but not limited to an appeal under Title 18, United States Code,
Section 3742 or a motion under Title 28, United States Code, Section 2255.

Immigration Consequences

       Ms. Reynolds understands that, if she is not a citizen of the United
States, her guilty plea to the charged offense will likely result in her being
subject to immigration proceedings and removed from the United States by
making her deportable, excludable, or inadmissible, or ending her
naturalization. Ms. Reynolds understands that the immigration conseq
                                                                            uences
of this plea will be imposed in a separate proceeding before the immigration
authorities. Ms. Reynolds wants and agrees to plead guilty to the charge
                                                                             d
offense regardless of any immigration consequences of this plea, even if this
plea will cause her removal from the United States. Ms. Reynolds unders
                                                                              tands
that she is bound by this guilty plea regardless of any immigration
consequences of the plea. Accordingly, Ms. Reynolds waives any and all
challenges to her guilty plea and to her sentence based on any immigration
consequences and agrees not to seek to withdraw her guilty plea or to file
                                                                               a
direct appeal or any kind of collateral attack challenging her guilty plea,


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 conviction, or sentence, based on any immigration cons
                                                        equences of her guilty
 plea.

 Other Provisions

       This agreement is limited to the United States Attorney
                                                                 ’s Office for the
 District of New Jersey and cannot bind other federal, state
                                                              , or local authorities.
 However, this Office will bring this agreement to the atten
                                                             tion of other
 prosecuting offices, if requested to do so.

         This agreement was reached without regard to any civil or
                                                                     administrative
 matters that may be pending or commenced in the futur
                                                             e against Ms.
 Reynolds. This agreement does not prohibit the United
                                                            States, any agency
 thereof (including the Internal Revenue Service) or any
                                                           third party from
 initiating or prosecuting any civil or administrative proc
                                                            eeding against Ms.
 Reynolds.

        No provision of this agreement shall preclude Ms. Reynolds
                                                                    from
 pursuing in an appropriate forum, when permitted by law,
                                                             an appeal, collateral
 attack, writ, or motion claiming that Ms. Reynolds received
                                                             constitutionally
 ineffective assistance of counsel.

 No Other Promises

      This agreement constitutes the plea agreement between
                                                             Ms. Reynolds
and this Office and supersedes any previous agreements betw
                                                            een them. No
additional promises, agreements, or conditions have been
                                                         made or will be made
unless set forth in writing and signed by the parties.

                                       Very truly yours,

                                       CRAIG CARPENITO
                                       United States Attorney



                                By:   Anthony Moscato
                                      Assistant U.S. Attorney

APPROVED:



Rahul Aganval
Deputy Chief, Criminal Division

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       I have received this letter from my attorney, Robert J. DeG
                                                                      root, Esq.
I have read it. My attorney and I have discussed it and
                                                           all of its provisions,
including those addressing the charge, sentencing, stipu
                                                            lations, waiver,
forfeiture, and immigration consequences. I fully unde
                                                          rstand this letter. I
hereby accept its tenns and conditions and acknowle
                                                        dge that it constitutes the
plea agreement between the parties. I understand that
                                                           no additional promises,
agreements, or conditions have been made or will be
                                                       made unless set forth in
writing and signed by the parties. I want to plead
                                                     guilty pursuant to this plea
agreement.

AGREED AND ACCEPTED:



Meliss Reynolds
D efend ant
                                                   Date:
                                                                   /
                                                                       /   3/
                                                                           /
                                                                                ‘


       I have discussed with Ms. Reynolds this letter and all of
                                                                 its provisions,
inclu           provisions addressing the charge, immigration conseque
                                                                         nces,
forf iture, retitution, a d sentencing. Ms. Reynolds
                                                        fully understands the
le er and wnts to p1 d guil        ursuant to this plea agreement.


                                                   Date:%/J/
R b     J. Droot, sq.
      sel for the Defendant                                    /




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                       Plea Agreement with Melissa Reynolds

                                      Schedule A

         1.  This Office and Melissa Reynolds recognize that the United
                                                                             States
 Sentencing Guidelines are not binding upon the Court. This
                                                                  Office and Ms.
 Reynolds nevertheless agree to the stipulations set forth here
                                                                  in, and agree that
 the Court should sentence Ms. Reynolds within the Guidelines
                                                                    range that
 results from the total Guidelines offense level set forth below.
                                                                   This Office and
 Ms. Reynolds further agree that neither party will argue for the
                                                                    imposition of a
 sentence outside the Guidelines range that results from the
                                                                agreed total
 Guidelines offense level.

      2.     The version of the United States Sentencing Guidelines effecti
                                                                            ve on
the date of sentencing applies in this case.

Offense Conduct

       3.    The applicable guideline is § 2X1. 1 (Attempt, Solicitation,
                                                                          or
Conspiracy). Under U.$.S.G. § 2X1.1(b)(2), Ms. Reynolds and
                                                                 her co
conspirators completed all the acts the conspirators believe
                                                             d necessary on their
part for the successful completion of the substantive offense
                                                              s.
      4.    The substantive violations charged are the violations of Title
                                                                             18,
United States Code, Sections 1341 and 1344, and the appl
                                                              icable guideline for
those offenses is U.S.S.G. § 231.1 (a)(1), resulting in a Base
                                                               Offense Level of 7.
      5.      Because the actual and intended losses are more than
                                                                         $1.5 million
but not more than $3.5 million, Specific Offense Character
                                                               istic U.S.S.G. §
2B1.1(b)(1)(I) applies, resulting in an increase of 16 levels.

Role in the Offense

       6.     Because Ms. Reynolds was an organizer or leader of a crim
                                                                        inal
activity that involved 5 or more participants, U.S.S.G. 3B1.
resulting in a 4 level increase.
                                                       §     1(b) applies,




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 Acceptance of Responsibility

        7.    As of the date of this letter, Ms. Reynolds has clearly demonstrated
 a recognition and affirmative acceptance of personal responsibility for the
 offense charged. Therefore, a downward adjustment of 2 levels for
                                                                       acceptance
 of responsibility is appropriate if Ms. Reynolds’ acceptance of respon
                                                                        sibility
 continues through the date of sentencing. See U.$.S.G. 3E1.1(a).
                                                           §
         8.      As of the date of this letter, Ms. Reynolds has assisted authorities
  in the investigation or prosecution of her own misconduct by timely notifyi
                                                                                    ng
  authorities of her intention to enter a plea of guilty, thereby permitting
                                                                                this
  Office to avoid preparing for trial and permitting this Office and the court
                                                                                   to
 allocate their resources efficiently. At sentencing, this Office will move
                                                                                for a
 further 1 point reduction in Ms. Reynolds’ offense level pursuant to
                                                                            U.S.S.G. §
 3E 1. 1(b) if the following conditions are met: (a) Ms. Reynolds enters
                                                                            a plea
 pursuant to this agreement, (b) this Office in its discretion determines
                                                                               that Ms.
 Reynolds’ acceptance of responsibility has continued through the
                                                                         date of
 sentencing and Ms. Reynolds therefore qualifies for a 2 level reduction
                                                                               for
 acceptance of responsibility pursuant to U.S.S.G. 3E1.1(a), and
                                                        §                (c) Ms.
 Reynolds’ offense level under the Guidelines prior to the operation
                                                                          of § 3E 1. 1(a)
 is 16 or greater.

 Calculation of the Total Offense Level

     9.     In accordance with the above, the parties agree that the total
Guidelines offense level applicable to Ms. Reynolds is 24 (the “agree
                                                                     d total
Guidelines offense level”).

       10.   The parties agree not to seek or argue for any upward or downward
departure, adjustment, or variance not set forth herein. The parties
                                                                      further
agree that a sentence within the Guidelines range that results from
                                                                     the agreed
total Guidelines offense level is reasonable.

Waiver of Appellate Rights

       11.    Ms. Reynolds knows that she has and, except as noted
below in this paragraph, voluntarily waives, the right to file any appeal
                                                                          , any
collateral attack, or any other writ or motion, including but not limited
                                                                           to an
appeal under Title 18, United States Code, Section 3742 or a motion
                                                                        under
Title 28, United States Code, Section 2255 that challenges the senten
                                                                        ce
imposed by the sentencing court if that sentence falls within or below
                                                                         the
Guidelines range that results from the agreed total Guidelines offense
                                                                         level of
24. This Office will not file any appeal, motion or writ which challen
                                                                       ges the
sentence imposed by the sentencing court if that sentence falls within
                                                                         or above
the Guidelines range that results from the agreed total Guidelines offense
                                                                              level
of 24. The parties reserve any right they may have under Title 18, United
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 States Code, Section 3742 to appeal the sentencing court’s determ
                                                                         ination of
 the criminal history category. The provisions of this paragraph
                                                                     are binding on
 the parties even if the Court employs a Guidelines analysis differe
                                                                        nt from that
 stipulated to herein. Furthermore, if the sentencing court accept
                                                                       s a
 stipulation, both parties waive the right to file an appeal, collate
                                                                      ral attack, writ,
 or motion claiming that the sentencing court erred in doing so.

       12.    Both parties reserve the right to oppose or move to dismiss any
appeal, collateral attack, writ, or motion barred by the preceding
                                                                    paragraph
and to file or to oppose any appeal, collateral attack, writ or motion
                                                                       not barred
by the preceding paragraph.




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